                     2:21-mc-02001-CSB-EIL # 37         Page 1 of 7
                                                                                           E-FILED
                                                        Wednesday, 01 December, 2021 01:28:19 PM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

MARTIN J. WALSH, Secretary of Labor,            )
                                                )
                    Petitioner,                 )
                                                )
      v.                                        )      Case No. 21-MC-2001
                                                )
B&D GROCERY, INC.,                              )
                                                )
                    Respondent.                 )


                                        ORDER


      Pending before the court are Petitioner’s Motion for Attorney’s Fees and Costs

(#30) and Respondent’s Motion to Reduce or Set Aside the Daily Fines, Fees, and Costs

(#35), both of which are now fully briefed. For the following reasons, Petitioner’s

Motion (#30) is GRANTED and Respondent’s Motion (#35) is GRANTED in part and

DENIED in part.

                                    BACKGROUND

      In an Order (#11) entered April 26, 2021, this court held Respondent in civil

contempt due to Respondent’s failure to comply with the subpoena duces tecum (#4-2)

issued by the Department of Labor or to otherwise show cause why it could not comply

with the subpoena. The court granted Petitioner leave to request sanctions pursuant to

that contempt order, and subsequently entered an Order (#15) on July 1, 2021, directing

Respondent to pay Petitioner a compensatory fine equal to service costs of $125.00 and
                        2:21-mc-02001-CSB-EIL # 37      Page 2 of 7




attorney’s fees of $875.00, and subjecting Respondent to a coercive fine of $150.00 per

day for each day Respondent failed to comply with the subpoena duces tecum and the

court’s prior orders.

       Respondent did not comply with the subpoena following the court’s July 1

Order, and a show cause hearing was then set for September 10, 2021. Despite

warnings and the opportunity to confer with court-appointed stand-by counsel,

Respondent displayed direct, offensive, non-verbal disrespect for the court, and the

court sentenced Respondent for direct contempt of court to the custody of the U.S.

Marshal from the termination of the hearing on September 10 until the rescheduled

show cause hearing on September 13, 2021.

       At the reset hearing on September 13, 2021, the court ordered Respondent to

provide records and documents responsive to the subpoena no later than September 28,

2021, and to provide an affidavit as to any missing records or documents. Respondent

indicated his intent to comply. Respondent was found to have purged his direct

contempt of court arising from the September 10 hearing, but was found in continuing

civil contempt pending compliance with the subpoena. The court indicated that the

$8,950.00 in fine, fees, and costs that had accumulated as of September 13, 2021, 1 were

still owed by Respondent. However, the court indicated a willingness to consider a

motion to reduce the fine, fees, and costs upon Respondent’s compliance with the



1Pursuant to the Order (#15) entered July 1, 2021, this total reflects a coercive fine of
$150.00 per day for a period of 53 days, from the date of service by the U.S. Marshals on
July 21, 2021, until the hearing on September 13, 2021, for a total of $7,950.00, and a
compensatory fine equal to service cost of $125.00 and attorney’s fees of $875.00.
                                            2
                      2:21-mc-02001-CSB-EIL # 37         Page 3 of 7




subpoena, and provided Respondent with continued appointment of stand-by counsel.

The court also granted Petitioner’s request for leave to file a motion for reimbursement

of costs relating to the rescheduled hearing.

       On September 27, 2021, Respondent filed a Notice of Compliance with Court

Order (#28) and Certificate of Service of Affidavit (#29), followed by a Certificate of

Service of Amended Affidavit (#32) on October 22, 2021. Petitioner filed a Notice of

Respondent’s Compliance with Subpoena Duces Tecum (#34) on October 28, 2021.

       Finally, on October 13, 2021, Petitioner filed a Motion for Attorney Fees and

Costs (#30) relating to the hearing on September 13, 2021, to which Respondent filed a

Response (#33) on October 27, 2021. And Respondent filed a Motion to Reduce or Set

Aside the Daily Fines, Fees, and Costs (#35) on November 8, 2021, to which Petitioner

filed a Response (#36) on November 18, 2021.

                                        ANALYSIS

       I. Attorney’s Fees and Costs

       The court will not reduce or set aside the compensatory fine of $125.00 in service

costs and $875.00 in attorney’s fees previously imposed in the court’s Order (#15)

entered July 1, 2021. Further, the court will now grant Petitioner’s pending Motion for

Attorney’s Fees and Costs (#30) and direct Respondent to pay Petitioner $140.18 in

attorney’s fees plus $442.76 in witness travel costs to attend the reset hearing on

September 13, 2021.

       Judicial sanctions in contempt proceedings may be employed “to compensate the

complainant for losses sustained … upon evidence of [the] complainant’s actual loss.”

                                                3
                       2:21-mc-02001-CSB-EIL # 37          Page 4 of 7




United States v. United Mine Workers of America, 330 U.S. 258, 303-04 (1947). And

“attorney’s fees may be awarded in contempt proceedings at the court’s discretion.”

Tranzact Technologies, Inc. v. 1Source Worldsite, 406 F.3d 851, 855 (7th Cir. 2005), citing

CFTC v. Premex, Inc., 655 F.2d 779, 785 (7th Cir. 1981).

       Here, the court is satisfied that Petitioner has provided sufficient evidence of its

loss in seeking attorney’s fees and costs related to the hearing on September 13, 2021.

Specifically, Petitioner’s Motion (#30) is adequately supported with evidence of $140.18

in travel-related expenses for attendance by Petitioner’s attorney Lydia Faklis, $234.26

in travel-related expenses for attendance by witness Crystal Mahan, and $208.50 in

travel-related expenses for attendance by witness Jacob Long. Petitioner seeks

reimbursement only for travel-related expenses relating to the reset hearing on

September 13, 2021, following Respondent’s direct contempt of court at the initial

setting on September 10, 2021. The court finds that Petitioner should be compensated

for its losses in the form of duplicative travel expenses directly arising out of

Respondent’s contemptuous behavior, and Petitioner’s Motion for Attorney’s Fees and

Costs (#30) is therefore GRANTED.

       Further, Petitioner’s prior Motion for Sanctions (#12) was also sufficiently

supported with evidence of its service costs of $125.00 and reasonable attorney’s fees of

$875.00. Upon review of the record of Petitioner’s losses and in exercising the court’s

discretion to award attorney’s fees in contempt proceedings, the court will not reduce

or set aside the compensatory fine of $125.00 in service costs and $875.00 in attorney’s

fees previously imposed upon Respondent in the court’s Order (#15) of July 1, 2021.

                                               4
                        2:21-mc-02001-CSB-EIL # 37           Page 5 of 7




         Moreover, as it relates specifically to costs, the court notes that “[t]he

presumption in favor of awarding costs to the prevailing party is difficult to overcome,

and the district court’s discretion is narrowly confined—the court must award costs

unless it states good reasons for denying them.” Weeks v. Samsung Heavy Industries Co.,

Ltd., 126 F.3d 926, 945 (7th Cir. 1997). Here, Petitioner is the prevailing party. The

Petition (#1) has been granted in full. See Orders (#5, #11), Notice (#34). Therefore,

Petitioner is likewise entitled to costs (service fees, witness fees) on that basis.

         II. Coercive Fine

         Judicial sanctions in contempt proceedings may also be employed “to coerce the

defendant into compliance with the court’s order.” United Mine Workers of America, 330

U.S. at 303; see also Powers v. Chicago Transit Authority, 890 F.2d 1355, 1362 (7th Cir.

1989).

         Here, in the Order (#15) entered July 1, 2021, the court imposed a coercive fine of

$150.00 per day, which the court found warranted due to the character and magnitude

of the harm threatened by Respondent’s failure to comply with the subpoena and the

probability that a $150.00 per day fine would be sufficient to ensure Respondent’s

compliance without being unnecessarily burdensome. See, e.g., Powers, 890 F.2d at 1363

(holding that “the district court did not abuse its discretion in originally imposing a fine

of $150.00 a day” and that there was “no reason why the district judge should have

believed that the $150.00 a day fine would not persuade [contemnor] to comply”).




                                                5
                       2:21-mc-02001-CSB-EIL # 37        Page 6 of 7




       However, in this case the accruing fine apparently did not have the intended

coercive effect and, over time, could appear punitive rather than coercive. See Powers,

890 F.2d at 1363 (“While we do not believe that the original $150.00 daily fine was an

abuse of discretion, we share the district court’s concern that, over time, the accruing

fines had become punitive.”). In light of Respondent’s ultimate compliance with the

subpoena, the compensatory fines that Respondent must still pay to Petitioner, and

Respondent’s representation that the coercive fine would constitute a serious financial

burden to Respondent and its ability to employ the workers that Petitioner is also

charged with protecting, the court chooses to exercise its discretion to set aside the

coercive fine totaling $7,950.00.

       Therefore, Respondent’s Motion to Reduce or Set Aside the Daily Fines, Fees,

and Costs (#35) is GRANTED as to the coercive daily fine totaling $7,950.00 and is

DENIED as to the compensatory fines payable to Petitioner.

       III. Contempt

       Finally, the court has reviewed the Notices of Compliance (#28, 34) filed by

Respondent and Petitioner. As such, Respondent is found to have purged himself of

civil contempt by complying with the subpoena duces tecum and the court’s prior

orders.

       IT IS THEREFORE ORDERED:

       1) Petitioner’s Motion for Attorney’s Fees and Costs (#30) is GRANTED.

Respondent is directed to pay Petitioner a compensatory fine of $582.94 (i.e., $140.18 for



                                             6
                      2:21-mc-02001-CSB-EIL # 37          Page 7 of 7




attorney’s fees plus $442.76 for travel costs for witness attendance at the continued

hearing on September 13, 2021).

       2) Respondent’s Motion to Reduce or Set Aside the Daily Fines, Fees, and Costs

(#35) is GRANTED in part and DENIED in part, as described herein. The court sets

aside the $7,950.00 coercive fine. Pursuant to the court’s prior Order (#15), Respondent

is directed to pay Petitioner the previously-ordered compensatory fine of $1,000.00 (i.e.,

$125.00 for service costs plus $875.00 in attorney’s fees).

       3) All requested relief having now been granted, the Petition (#1) is GRANTED

in its entirety.

       4) Respondent is found to be in compliance and has purged the civil contempt

finding imposed in the court’s prior Order (#11).

       5) This matter is terminated.

       ENTERED this 1st day of December, 2021.

                                  s/Colin Stirling Bruce
                                    COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




                                              7
